         Case 1:19-cv-01348-EMR Document 19 Filed 09/01/20 Page 1 of 2




          In the United States Court of Federal Claims


 PETRINA SMITH,

                  Plaintiff,                              No. 19-1348 C

                       v.                                 Filed: September 1, 2020

 THE UNITED STATES,

                  Defendant.



                                               ORDER

       On September 1, 2020, the parties filed a joint motion to amend this Court’s preconditional

certification discovery and motion briefing schedule. See ECF No. 18. In that motion, the parties

request a 90-day extension of time of the deadlines established in this Court’s June 29, 2020

Scheduling Order to “allow time for defendant to supplement its discovery responses and

production, for plaintiff to re-notice and take the depositions, and for plaintiff to receive the

necessary discovery prior to briefing her motion for conditional certification.” Id. at 2-3. For

good cause shown, the parties’ motion is GRANTED.

       The parties shall proceed as follows:

       1. The parties shall complete all pre-conditional certification discovery by
          December 2, 2020.

       2. Plaintiff shall file any motion for conditional certification by December 9, 2020.

       3. Defendant shall file its opposition to Plaintiff’s motion for conditional certification by
          January 7, 2021.

       4. Plaintiff shall file her reply in support of her motion for conditional certification by
          January 21, 2021.
  Case 1:19-cv-01348-EMR Document 19 Filed 09/01/20 Page 2 of 2




5. The parties shall file a joint status report, including a proposal for further proceedings,
   no later than 14 days after this Court issues a decision on Plaintiff’s motion for
   conditional certification.

 IT IS SO ORDERED.


                                                        s/Eleni M. Roumel
                                                       ELENI M. ROUMEL
                                                             Judge




                                                                                            2
